     Case: 1:09-cr-00383 Document #: 1058 Filed: 05/23/25 Page 1 of 1 PageID #:11938




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )     No. 09 CR 383-21
v.                                       )
                                         )     Hon. Sharon Johnson Coleman
JOAQUIN GUZMAN LOPEZ                     )

                     GOVERNMENT’S NOTICE OF DECISION
                     NOT TO SEEK CAPITAL PUNISHMENT

         The UNITED STATES OF AMERICA, through its attorney, ANDREW S.

BOUTROS, United States Attorney for the Northern District of Illinois, pursuant to

Title 18, United States Code, Section 3593, hereby provides notice to defendant

JOAQUIN GUZMAN LOPEZ that, if the defendant is convicted, the government will

not seek a sentence of death.



                                                Respectfully submitted.

                                                ANDREW S. BOUTROS
                                                United States Attorney

                                         By:    /s/ Andrew C. Erskine
                                                ANDREW C. ERSKINE
                                                MICHELLE PARTHUM
                                                Assistant United States Attorneys
                                                219 South Dearborn Street, 5th Floor
                                                Chicago, Illinois 60604
                                                (312) 353-5300
